                   IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            ASHEVILLE DIVISION
                                1:09 CR 100-2


UNITED STATES OF AMERICA,                      )
                                               )
      Plaintiff                                )
                                               )
      V                                        )              ORDER
                                               )
CHARLES PHILLIP SMITH, et al,                  )
                                               )
      Defendant.                               )



      THIS MATTER is before the court on Richard E. Cassady’s Application for

Admission to Practice Pro Hac Vice of Stacey Michelle Pellom. It appearing that

Stacey Michelle Pellom is a member in good standing with the Florida State Bar and

will be appearing with Richard E. Cassady, a member in good standing with the Bar

of this court, that all admission fees have been paid, and that the email address of the

attorney seeking admission has been provided, the court enters the following Order.

                                     ORDER

      IT IS, THEREFORE, ORDERED that Richard E. Cassady’s Application for

Admission to Practice Pro Hac Vice (#53) of Stacey Michelle Pellom is GRANTED,

and that Stacey Michelle Pellom is ADMITTED to practice, pro hac vice, before the

Bar of this court while associated with Richard E. Cassady.




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                                Signed: December 30, 2010




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